












TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN




NO. 03-05-00648-CV




Christopher Thomas, Appellant


v.


The State of Texas for the protection of Kristi Thomas on behalf of 
K.L.T., C.A.T. and C.M.T., Appellee




FROM THE COUNTY COURT AT LAW OF BASTROP COUNTY, NO. 05-9646
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;HONORABLE BENTON ESKEW, JUDGE PRESIDING 




M E M O R A N D U M   O P I N I O N


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant Christopher Thomas filed his notice of appeal on October 4, 2005.  On
December 1, 2005, this Court received notice from the Bastrop County district clerk’s office that 
the appellant had not paid or made arrangements to pay for the clerk’s record.  On December 23,
2005, the Clerk of this Court sent notice to appellant’s counsel that this appeal would be dismissed
for want of prosecution if he did not submit a status report to this Court by January 3, 2006.  To
date, appellant’s counsel has not responded to this Court’s notice.  Appellant’s counsel notified
this Court on January 9, 2006, that he has been unable to communicate with his client.  Counsel
has filed a motion to withdraw.  Counsel provided us with a copy of his December 27, 2005 letter
to appellant, which was sent by certified mail to appellant’s address in Hamlin and by regular mail
to appellant’s two additional addresses in Abilene.  In the letter, counsel states that he has not
heard from appellant regarding the appeal and advises appellant of counsel’s request to this Court
to withdraw due to appellant’s refusal to communicate with him.  Based on these facts, we dismiss
the appeal for want of prosecution, see Tex. R. App. P. 37.3(b), and grant counsel’s motion to
withdraw.
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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;__________________________________________
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Jan P. Patterson, Justice
Before Justices B. A. Smith, Patterson and Puryear
Dismissed for Want of Prosecution
Filed:   January 31, 2006


